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                                SATTERLEE STEPHENS LLP
                                         230 PARK AVENUE
                                                                              MEMO ENDORSED
                                      NEW YORK, NY 10169-0079
                                           (212) 818-9200                              51 JOHN F KENNEDY PAR'rWVAY
                                         Fax (212) 818-9606                                 FIRST FLOOR WEST
                                                                                        SHORT HILLS. NJ 07078-2713
USDCSDNY                                                                                       (973) 218-2509
                                                                                             FAX (973) 218-2401
DOCUMENT                                 E-Mail: afish@ssbb.com
                                        Direct Dial: (212) 404-8761
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 The Honorable P. Kevin Castel
 United States District Court
 Southern District of New York
 500 Pearl Street
 New York, NY, 10007-1312

                Re:     United States v. Bergstein, 16 er. 746 (PKC)

 Dear Judge Castel:

      )J)"efendant David Bergstein writes to request that he have until March 23, 2018 to
 respond to the Government's letter motion for a preliminary order of forfeiture (Doc. '!}.7). \

         The defendant notes that the Government's proposed preliminary order of forfeiture
 appears flawed on its face. The proposed preliminary order states that Mr. Bergstein "personally
 obtained" over $27 million dollars. But, even viewed in the light most favorable to the
 Government, the evidence does not support such a finding. Indeed, the Government stated in its
 summation that it did not ''dispute that some of the money was used for medical billing." (Tr.
 3066). In addition, the evidence showed that funds at issue were received by, among others, the
 P2 fund, other Weston-related entities, and entities entitled to funds as part of the unwind
 agreement. A court may not order forfeiture of funds that are transmitted directly to innocent
 third parties. See United States v. Contorinis, 692 F.3d 136, 147 (2d Cir. 2012).

                                                          Respectfully submitted,

                                                          SATTERLEE STEPHENS LLP

                                                          Isl Andrew L. Fish
                                                          Andrew L. Fish

                                                          BIENERT, MILLER & KATZMAN, PLC

                                                          Isl Thomas H. Bienert, Jr.
                                                          Thl'>m.trn H. Bienert, Jr.
 cc: All counsel (via ecf)
